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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


   Civil Action Number: 19-cv-03417-WJM-STV

   REBECCA BRIGHAM,

                  Plaintiff,

   v.

   FRONTIER AIRLINES, INC.,
   a Colorado corporation,

                  Defendant.



          PLAINTIFF’S RESPONSES TO DEFENDANT’S FIRST SET OF WRITTEN
                  DISCOVERY REQUESTS DIRECTED TO PLAINTIFF


          Plaintiff Rebecca Brigham, by and through the undersigned counsel, hereby submits

   Plaintiff’s Responses to Defendant’s First Set of Written Discovery Requests Directed to Plaintiff.

   These Responses are being served pursuant to the Federal Rules of Civil Procedure and the Court’s

   Scheduling Order dated February 13, 2020 [Dkt. 15].



                                       INTERROGATORIES

   INTERROGATORY NO. 1:

          Identify each person who supplied information concerning the answers and responses to

   these Interrogatories.

          ANSWER: I supplied all information in response to Defendant’s Interrogatories. My
   attorney assisted me in the preparation of these Responses; however, any information related to
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   my interactions with my attorney in this regard is privileged or protected by the work product
   doctrine.

   INTERROGATORY NO. 2:

          Identify all persons known or believed by you to have knowledge of any facts, events,

   circumstances or issues supporting, contradicting, or in any way relating to the matters set forth in

   or underlying the allegations in the Complaint, and for each provide their telephone number and

   address.

          ANSWER: Please see Plaintiff’s Rule 26(a)(1) Initial Disclosures at 1-4, ¶¶ 1-17 (listing
   various individuals, primarily employees of Defendant). I am unaware of current contact
   information for employees of Defendant; however, Defendant should possess that information.
   Also, please see the following additional information:

          1. Shelly Lerner: Ms. Lerner was one of Defendant’s HR or payroll employees that
             assisted Defendant in compiling documentation on my absences from work, absences
             that were the result of Defendant’s refusal to treat me in accordance with the law.

          2. Adrian Prince: I believe the best, current contact information for Ms. Prince is:
             amlmprince@me.com.

   INTERROGATORY NO. 3:

          Identify all persons, other than your attorneys in this case, and including but not limited to

   the individuals identified in your Initial Disclosures and any subsequent Disclosures, with whom

   you have had communications relating to your allegations against Frontier and/or your claims in

   this matter, including but not limited to present or former employees of Frontier. For each

   communication, provide the individual’s current or last known address, mobile and home

   telephone number, and state the nature of the communications, all parties to the communication,

   and any written or electronic documents that were exchanged between the parties (additionally,

   produce such documents in response to Request for Production Nos. 12 and 13.
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           ANSWER: Of course, I spoke with various colleagues, coworkers, and supervisors of
   Defendant during the events at issue in this lawsuit. It is not possible to recall the nature of each
   communication nor do I possess current contact information for all of these individuals. But again,
   Defendant should be in possession of contact information for any of its former or current
   employees listed in my Initial Disclosures or herein. Please see my above Response to
   Interrogatory No. 2 for additional contact information for individuals with which I have discussed
   the events underlying this lawsuit.

          Please also see BrighamR_PlaintiffRecords0644-45 for a current statement regarding some
   of the events underlying this lawsuit from Adrienne Prince. Also, please see the following
   additional information:

            1. Lori Hughes: Ms. Hughes is a friend of mine, and I have discussed the unlawful
               treatment I have suffered from Frontier with Ms. Hughes on various occasions. Her
               telephone number is 303-520-8433.

            2. Dave St. Hilaire: Mr. Hilaire was a former colleague at Frontier. Therefore, Defendant
               should possess his current contact information. I recall discussing Frontier’s unlawful
               behavior with Mr. St. Hilaire because he suffered similar adverse actions after self-
               disclosing his issues with alcoholism to Defendant.
   INTERROGATORY NO. 4:

            List and explain in detail each and every retaliatory act that you contend was made or taken

   against you by Frontier, including by its representatives, agents, or employees. For each such act,

   state:

               A. The name of the individual(s) whom you contend retaliated against you;

               B. The action taken or representation made by the individual(s) that you contend

                   constitutes retaliation;

               C. The date of the alleged retaliatory action(s); and

               D. Any witnesses to the alleged retaliation.

          ANSWER: The most obvious act of retaliation occurred when I was fired by Jerry
   Arellano. This occurred on November 11, 2015. Leading up to my termination, it was obvious that
   Mr. Arellano did not like me as he would talk down to me in every conversation. He fired me due
   to my disability and because I was engaging, or attempting to engage, in protected activity by
   requesting reasonable accommodations.
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          On August, 24, 2105, I learned that a PDX turn was removed from my schedule without
   explanation. I believe I asked Stefanie Coppedge for an explanation, but I never received a
   response.

          On October 9, 2015, a DFW turn was removed from my schedule in retaliation for my
   attempts to engage in protected activity by requesting reasonable accommodations. I asked the GO
   why the turn was removed from my schedule; no satisfactory reason was provided. On this date, I
   told Kari Thompson that I felt like Frontier was out to get me as it seemed Frontier was looking
   for any reason to write me up and terminate me, which eventually happened on November 11,
   2015.

   INTERROGATORY NO. 5:

          For each accommodation that you requested from Frontier, please identify:

              A. The nature of the accommodation you requested;

              B. The identity of the individual(s) from whom you requested an accommodation;

              C. Whether a doctor submitted information relating to the request;

              D. The date that you requested the accommodation; and

              E. Whether and how Frontier responded to the request for accommodation, including

                  whether or not Frontier granted it.

         ANSWER: For additional information responsive to this Interrogatory, please see
   BrighamR_PlaintiffRecords0644-45.

           I met with my inflight managers, Stefanie Coppedge, JJ Williams, and Fadia Daphis, a few
   different times to discuss different ways I could avoid layovers; however, Frontier never suggested
   any solutions. I cannot recall the exact dates of these meetings. Also, I do recall confiding in JJ
   Williams and Fadia Daphis regarding my disability prior to my self-disclosure to Frontier toward
   the end of 2014.

           On June 4, 2015, I requested to work at the GO (the “General Office”) temporarily in order
   to avoid layovers and overnights. This meeting was recorded. Jerry Arellano and Cassie Micklich
   were present. The request was later denied through email.

           On October 9, 2015, I again requested an accommodation through building a schedule
   using open time and the tradeboard. In this way, I would be able to create a schedule avoiding
   layovers and overnights. I requested this accommodation through Kari Thompson, and later, I
   again requested the same accommodation while Jerry Arellano was present. This meeting was also
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   recorded. I was told this accommodation would not be consistent with Frontier’s practices and: “if
   we cherry picked to try and create you a certain situation now we have created a whole separate
   accommodation for you.” I responded that the time might have been right to actually help people
   in recovery from alcoholism rather than hinder them. I also suggested that I work at the GO again.
   None of my requested accommodations were granted nor did Frontier offer any suggestions of its
   own.

          On November 3, 2015, during a factfinding meeting with Stefanie Coppedge, I again
   requested an accommodation and in writing. This was denied; rather, I was fired on November 11,
   2015.

      INTERROGATORY NO. 6:

          Identify and describe in detail each occasion on which you claim you were discriminated

   against by Frontier, including its representatives, employees, and/or agents, on the basis of

   disability. For each such incident, at a minimum, please include the following:

              A. The name of the individual(s) whom you contend discriminated against you;

              B. The action taken or representation made by the individual(s) that you contend

                  constitutes discrimination;

              C. The date of the alleged discriminatory action(s);

              D. Any witnesses to the alleged discrimination; and

              E. Whether and to whom you reported the alleged discrimination.

           ANSWER: Unfortunately after I self-disclosed my disability, I was treated poorly virtually
   every time I spoke with anybody from the GO. Jerry Arellano, Shelley Lerner, and Kari Thomson
   talked down to me and made it clear that they did not think it necessary to accommodate my
   disability. I was disallowed from taking steps to create a schedule that avoided overnights and
   layovers. Instead I was written up for accruing too many absences even though I was trying hard
   to stick to my treatment plan and to arrange my schedule accordingly. Frontier would not allow
   me to complete the terms of my treatment plan by avoiding layovers and overnights even though
   it was critical that I did so in order to realize a full recovery.

           I was also retaliated against, as described in response to Interrogatory No. 4, and Frontier
   refused to grant my accommodations or even meaningfully discuss my requested accommodations,
   as discussed in response to Interrogatory No. 5. Frontier never once suggested its own idea for a
   reasonable accommodation. After Frontier learned of my disability, my years of good performance
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   on the job turned into a contentious relationship where no matter how hard I tried to succeed, my
   managers were writing me up and disciplining me. Eventually, I was terminated by Frontier, also
   an act of discrimination.

   INTERROGATORY NO. 7:

          Identify all employers for whom you have worked from November 11, 2015 to the present,

   stating for each:

              A. The name and present or last known address and phone number of the employer;

              B. The dates you were employed by that employer;

              C. Your position with that employer;

              D. The earnings (if from self-employment, both gross and net), compensation and

                  other benefits you received during such employment, including commissions,

                  bonuses, etc.;

              E. The names of your immediate supervisor(s);

              F. The reason for your separation from employment; and

              G. Any disciplinary action, including termination from employment, to which the

                  employer subjected you.

          This interrogatory includes any period of self-employment. Additionally, please execute

   a copy of the attached employment records release (Exhibit A) for each employer so that

   Frontier may obtain your employment records from the employers.

             ANSWER: OBJECTION: The release attached as Exhibit A is overly broad,
   impermissibly seeks to invade Ms. Brigham’s privacy, and seeks information not relevant to
   this lawsuit. The release seeks to provide Defendant access to “any records concerning the
   employment and termination of employment of Rebecca Brigham, including, but not limited
   to, . . . personnel files, severance agreements . . . performance reviews, grievances . . . [and]
   disciplinary records . . . .” Plaintiff’s post-termination employment is relevant to this lawsuit
   insofar as Defendant may seek to establish whether or not Plaintiff properly mitigated her
   damages. The release, as drafted, seeks information beyond this proper scope. As such,
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   Plaintiff invites Defendant to draft its release such that it only seeks information on Ms.
   Brigham’s position descriptions, durations of employment, and rates of pay. If Defendant
   agrees to do so, Plaintiff will execute a properly revised release.

          With regard to the remainder of this Interrogatory, from approximately February 2016
   through April 2016, I worked at Cakeheads Bakery (placed through a temp agency). My supervisor
   was Bradley Isroff, and I believe his contact number to be (303) 596-5176. The temp agency
   separated my employment with Cakeheads Bakery. Mr. Isroff did reach out to me directly asking
   me to resume my employment; however, I had already started a new job. I earned approximately
   $12.00 per hour in this position, with $15.00 per hour offered after my termination.

           From approximately April 2016 through August 2018, I worked for Great West Painting
   and Repair. My supervisor was Steve Kruger, and I believe his contact information to be (303)
   239-8933. I earned approximately $15.00 to $18.75 per hour during the time I was employed in
   this position.

          I am currently unemployed; however, I am caring for my husband’s grandmother. I earn a
   minimal amount for these duties, approximately $200 per paid on a 1099. All of this work occurred
   in 2020 so I have yet to be issued a 1099.

   INTERROGATORY NO. 8:

          Identify and fully describe any efforts that you have made to seek employment or other

   means of income since November 11, 2015. In so doing, identify all companies, persons or other

   entities with or through whom you have applied, inquired about, or sought employment, including

   employment agencies, other personnel placement services, or your personal or professional

   contacts, by specifying for each the name of the company, person or other entities from whom or

   through whom you sought employment or income; the date(s) of each application, inquiry, or

   search; the name(s) of the person(s) to whom you addressed your application, with whom you

   interviewed, or who performed employment search services on your behalf; the job or business

   relationship sought; the results(s) of each such application and the reason for the result (e.g.,

   offered a position but declined it for a certain reason); and the amount and nature of compensation

   and benefits of any job or business relationship offered or for which you applied (e.g., whether
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   such compensation was based on an hourly or salary pay schedule, commission structure or other

   basis).

          ANSWER: OBJECTION: This Interrogatory is duplicative, overbroad and unduly
   burdensome given that Ms. Brigham has detailed her post-termination employment history
   in response to Interrogatory No. 7. Ms. Brigham invites conferral on this issue should
   Defendant disagree.

   INTERROGATORY NO. 9:

             State the amount of all compensation, income and benefits you have received or expect to

   receive since the date of your separation from Frontier and the sources of same. For purposes of

   this Interrogatory, “benefit” means a payment made or an entitlement available to you in

   accordance with a wage agreement or any other employer directed or sponsored program, an

   insurance policy, or a public assistance program.

          ANSWER: Please see documents produced herewith and Bates numbered
   BrighamR_PlaintiffRecords0645-50. Also, please see Plaintiff’s economic expert’s report Bates
   numbered BrighamR_PlaintiffRecords0708-0766, which contains detailed information
   responsive to this Interrogatory.

   INTERROGATORY NO. 10:

             Identify the basis(es) for your alleged disability(ies) by identifying:

                A. The physical or mental impairment which you allegedly have that substantially

                    limits a major life activity;

                B. Each major life activity in which you are allegedly substantially limited, and a

                    description of the manner in which you are allegedly substantially limited; and

                C. What treatment, including medication and/or treatment plans, if any, you use as a

                    result of the disability described in sub-part (A).

            ANSWER: My disability is alcoholism. I was unable to treat my disability on my own and
   it affected my life in dramatic ways, including my marriage and my relationship with my children.
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   Thus, I had trouble caring for myself, eating, sleeping, concentrating, and working. I completed a
   program of inpatient rehabilitation at the Discovery House in California. After completion of my
   inpatient program, I was placed on a treatment program that has modified over time. After my
   inpatient program, a significant portion of the treatment program was a modified work schedule.
   For additional information, see BrighamR_PlaintiffRecords0273-76 (Treatment Plan authored by
   Marla M. Madrid, LCSW).

   INTERROGATORY NO. 11:

          Please separately identify each and every disease, illness, injury, disability, defect, medical

   symptom or other physical or mental condition which you claim was caused or aggravated by

   Frontier as a result of Frontier’s alleged improper conduct set forth in the Complaint.

          ANSWER: Alcoholism. Anxiety. Depression. Emotional Distress. Pain and Suffering.

   INTERROGATORY NO. 12:

          Please state whether you have sought or received any consultation, examination and/or

   treatment for any physical or psychological injuries or damages you allege were caused by your

   treatment by and/or employment with Frontier alleged in this action, and/or any other action or

   omission by Frontier for which you are seeking relief in this action. If you answer in the

   affirmative, state the dates of each such consultation, examination and/or treatment and identify

   the provider from whom you sought treatment, the nature of such consultation, examination and/or

   treatment, and the diagnosis and treatment you received. Additionally, please execute a copy of

   the attached medical release in Exhibit B for each provider so that Frontier may obtain your

   medical records. Please also execute a copy of the Authorization for Release of

   Psychotherapy Notes, attached as Exhibit C, for each identified mental health care provider

   so that Frontier may obtain your psychotherapy records from the mental health care

   provider(s).
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         ANSWER: OBJECTION: The release attached as Exhibit B is overly broad,
  impermissibly seeks to invade Ms. Brigham’s privacy, and seeks information not relevant to
  this lawsuit. The release seeks to provide Defendant access to a “copy of each and every
  medical or treatment-related document or record in your possession, custody or control
  including, but not limited to, correspondence, reports, . . . charts, x-rays, diagnostics . . . [and]
  prescriptions . . . .” Plaintiff’s medical records are relevant to this lawsuit insofar as
  Defendant may seek to learn of the nature of Plaintiff’s medical damages caused by
  Defendant’s conduct at issue in this lawsuit. The release, as drafted, seeks information
  beyond this proper scope as it seeks health information of any type and rendered at any time.
  As such, Plaintiff invites Defendant to draft its release such that it only seeks information on
  Ms. Brigham’s treatment for alcoholism, anxiety, and depression, including bills for services
  rendered, and incurred from 2014 to present. If Defendant agrees to do so, Plaintiff will
  execute a properly revised release. Exhibit C suffers from similar defects as described below
  in my Response to Request for Production No. 19.

          With regard to the remainder of this Interrogatory, after being terminated by Frontier, I
  continued to see my counselor, Marla M. Madrid. Once Frontier presents me with a properly
  limited release, Defendant should be able to obtain the necessary records detailing treatment dates.
  At present, I cannot recall the exact dates of treatment.

  INTERROGATORY NO. 13:

         Describe in detail your medical history from August 2011 to the present, including every

  illness, injury, disorder, abnormal or disabling condition (physical, mental or emotional) or

  medical procedures and all treatment you have had at any time (other than common virus, cold,

  flu, or routine dental work), the date on which such condition began or became evident, the

  diagnosis of any such condition, all treatment received and the dates thereof, and the identities of

  all current or former physicians, therapists, dentists, psychologists, hospitals, clinics, sanitariums

  and other health care providers who diagnosed or treated you for each such physical, emotional,

  mental, or psychological condition. Additionally, please execute a copy of the attached medical

  release in Exhibit B for each provider so that Frontier may obtain your medical records.

  Please also execute a copy of the Authorization for Release of Psychotherapy Notes, attached
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  as Exhibit C, for each identified mental health care provider so that Frontier may obtain

  your psychotherapy records from the mental health care provider(s).

          ANSWER: OBJECTION: The Interrogatory is overly broad, unduly burdensome,
  seeks to invade Ms. Brigham’s privacy, and seeks information that is not relevant to any
  claims or defenses asserted in this lawsuit. Plaintiff is unclear as to how this broadly worded
  Interrogatory is relevant to the nature of her disability nor is Plaintiff aware as to how this
  Interrogatory seeks information relevant to her asserted damages. Plaintiff invites conferral
  on this Interrogatory so that she may provide any properly responsive information.

  INTERROGATORY NO. 14:

         Identify and fully describe any and all types of damages or injuries of any kind or nature

  that you allege you have suffered and are seeking relief from or compensation for in this case, and

  with respect to each, identify and describe the following:

     a. specific type of injury alleged;

     b. specific type of damages incurred;

     c. amount of recovery sought for any specific type of injury or damages alleged;

     d. the method used to compute each item of damages; and

     e. any and all documents supporting your claims for damages.

          ANSWER: I am seeking all available economic damages available under law, including
  backpay and frontpay. Please see Plaintiff’s economic expert’s report Bates numbered
  BrighamR_PlaintiffRecords0708-0766, which contains detailed information responsive to this
  Interrogatory.

          I am also seeking all compensatory and punitive damages available under law and in
  amounts determined by a jury. I am also seeking my attorney’s fees, costs, pre and post-judgment
  interest and any other legal or equitable relief determined proper by Court.

   INTERROGATORY NO. 15:

         Identify by name, date, and court any other lawsuits, arbitrations, judicial proceedings,

  civil, criminal, or administrative cases (including charges filed with the Equal Employment
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  Opportunity Commission, state human rights commission, workers’ compensation claims, and

  claims for unemployment benefits), to which you have ever been a party (as a plaintiff or a

  defendant) or a witness in the past ten (10) years.

         ANSWER: None, apart from the EEOC complaint underlying this lawsuit and this lawsuit.

  INTERROGATORY NO. 16:

         Please state whether you have ever pled guilty (or nolo contende) to or been convicted of any

  criminal charge. If your answer is yes, please state the following with respect to each incident: the

  nature of the charge; the date of the plea or conviction; the court in which the charge was raised; and

  the sentence you received.

          ANSWER: While in college, in Sterling, CO, I accepted a plea deal after being charged with
  DUI. I pled no contest, received a fine, and took DUI classes. I have had some speeding tickets but
  those may not have been “criminal charge[s].” In approximately 2005 or 2006, I pled guilty to a
  trespassing charge in Lakewood, CO, which was reduced from shoplifting. This trespassing charge
  involved the use of alcohol. While a juvenile, around age 16, I pled guilty to hit and run, reckless
  driving, and driving without a valid drivers license. This juvenile offense also involved the use of
  alcohol.

  INTERROGATORY NO. 17:

         Identify all personal e-mail addresses (such as Gmail, Yahoo!, Hotmail, AOL, AT&T,

  Blackberry), social networking accounts (for online services such as Facebook, Twitter, MySpace,

  Twitter, Instagram, Tumblr, YouTube, Google+, Classmates, Flickr, etc.), professional networking

  accounts (for online services such as LinkedIn, Monster.com, etc.), and any other accounts to

  online sites, services, blogs, wikis, or message boards that you have used or maintained at any time

  since May 2007 and for each, provide your public username, the email address associated with the

  account, the website address, and the dates the account has been active.

         ANSWER: OBJECTION: This Interrogatory is overly broad, unduly burdensome,
  seeks to invade Ms. Brigham’s privacy, and seeks information that is not relevant to any
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  claims or defenses asserted in this lawsuit. Here, Defendant is seeking the identity of any
  “personal email addresses . . . social networking accounts . . . professional networking
  accounts . . . and any other accounts . . . .” from May 2007 to present without identifying how
  this information relates to this lawsuit in any way. This Interrogatory represents a classic,
  and impermissible, “fishing expedition.” Notwithstanding, Plaintiff invites conferral on this
  Interrogatory so that she may provide properly responsive information, if it exists.


                                REQUESTS FOR PRODUCTION


  REQUEST FOR PRODUCTION NO. 1:

         Produce all documents and tangible things that you reviewed, regardless of whether

  ultimately relied upon, for responding to the above Interrogatories and/or referenced in such

  Interrogatories.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 2:

         Produce all documents and tangible things that you reviewed, regardless of whether

  ultimately relied upon, for purposes of preparing the allegations set forth in your Complaint.

        RESPONSE: Please see previously                 produced    documents     Bates    numbered
  BrighamR_PlaintiffRecords0001-6333.

  REQUEST FOR PRODUCTION NO. 3:

         Produce all documents that relate to your employment with and separation from Frontier,

  including without limitation personnel documents, evaluations, job descriptions, policy and

  procedures manuals, any other manuals, documents describing your duties and responsibilities as

  a Frontier employee, any e-mail or text message communications with or about any of Frontier’s

  agents, and anything that you took from Frontier when your employment was terminated.
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        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 4:

         Produce all documents which relate to the Charge of Discrimination filed with the Colorado

  Civil Rights Division (CCRD) and/or the Equal Employment Opportunity Commission (EEOC)

  on or about May 10, 2016.

        RESPONSE: Please see previously                produced     documents     Bates   numbered
  BrighamR_PlaintiffRecords0001-6333.

  REQUEST FOR PRODUCTION NO. 5:

          Produce all documents which relate to your efforts to gain employment after your

  separation from employment with Frontier including, but not limited to, copies of applications for

  training and/or education, copies of resumes, employment applications, letters to prospective

  employers, and correspondence between you and any employment agencies, recruiters, or

  headhunters.

        RESPONSE: Please see documents produced herewith and Bates numbered
  BrighamR_PlaintiffRecords0646-0655.

  REQUEST FOR PRODUCTION NO. 6:

         Produce any diaries, notes, correspondence, memoranda, calendars, journals, daily,

  weekly, or monthly planners, social media postings, or other similar materials from May 24, 2007

  to the present, demonstrating your state of mind or memorializing any aspect of your employment

  or separation from employment with Frontier, including any journal or diary of any sort kept during

  your employment with Frontier.

         RESPONSE: Plaintiff presumes this Request is seeking information authored by Plaintiff
  as opposed to information authored by others that may or may not be responsive to this Request –
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  apart from the issue of whether Plaintiff would be in possession of any such third-party
  information. With this understanding, Plaintiff asserts that no information responsive to this
  Request exists.

  REQUEST FOR PRODUCTION NO. 7:

         Produce any and all documents and tangible things which you contend reflect, show, or

  demonstrate discrimination against you on the basis of disability by any employee or agent of

  Frontier.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 8:

         Produce any and all documents and tangible things which you contend reflect, show, or

  demonstrate retaliation against you by any employee or agent of Frontier.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 9:

         Produce any and all documents and tangible things which you contend reflect, show, or

  demonstrate Frontier’s failure to accommodate your alleged disability.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 10:

         Produce any and all documents and tangible things which you contend reflect, show, or

  demonstrate Frontier’s failure to engage in good faith with you to determine what (if any)

  reasonable accommodations were possible for Frontier to provide you concerning your alleged
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  disability.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 11:

          Produce any and all documents and tangible things which relate to communications or

  meetings between yourself and Frontier, or any representative or employee of Frontier, including

  but not limited to meetings with your supervisors or members of human resources, including

  without limitation, memoranda, meeting minutes, notes, tapes or recordings, emails or computer

  records or files, diaries, calendars, planners, text-messages, or material similar to any of the

  foregoing, relating to your allegations against Frontier and/or your claims in this matter.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 12:

          Produce any and all documents reflecting communications between yourself and anyone

  else (other than correspondence sent only to your attorneys or documents sent by your attorneys

  to you and no one else) relating to your claims against Frontier.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 13:

          Produce all communications between you and any individual identified in your Initial

  Disclosures that relate to your claims against Frontier.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0190-0299; 0633 (note: as previously discussed between counsel, the
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  transcripts of recorded conversations were not professionally produced and contain some errors;
  however, the underlying recordings have been produced); and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0680-0699.

  REQUEST FOR PRODUCTION NO. 14:

          Produce all documents relating to your accommodation requests to Frontier.

        RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0001-6333; 0644-45; and those produced herewith and Bates
  numbered BrighamR_PlaintiffRecords0646-0707.

  REQUEST FOR PRODUCTION NO. 15:

          Produce all documents or tangible things which reflect, show, or demonstrate income or

  compensation (including salary, wages, bonuses, unemployment compensation, disability

  payments, benefits, and any other thing of value) received by you since November 11, 2015,

  including pay stubs.

           RESPONSE: Please see documents produced herewith and Bates numbered
  BrighamR_PlaintiffRecords0646-0651, and please see Plaintiff’s economic expert’s report Bates
  numbered BrighamR_PlaintiffRecords0708-0766, which contains detailed information responsive
  to this Interrogatory.

  REQUEST FOR PRODUCTION NO. 16:

          Produce all documents that you provided to or received from any government or

  administrative agency, including, but not limited to, the EEOC relating to Frontier, your

  employment with Frontier, the separation of your employment with Frontier, and/or the subject

  matter of this litigation.

        RESPONSE: Please see previously                 produced    documents     Bates   numbered
  BrighamR_PlaintiffRecords0001-6333.

  REQUEST FOR PRODUCTION NO. 17:

          Produce all of your federal, state, and local income tax returns, receipts, check stubs and
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  W-2 forms that indicate the transfer of funds to you, whether private or governmental transfer

  payments, including wages, passively earned income, and benefits of any kind, from 2010 to the

  present.

         RESPONSE: OBJECTION: Production of Ms. Brigham’s tax returns would
  constitute an unwarranted invasion of her and her husband’s privacy. Plaintiff takes the
  position that her income over the relevant time period is discoverable however, and as such,
  Ms. Brigham is producing her Form W-2s. Plaintiff invites conferral on this issue if
  Defendant can articulate reasons why Ms. Brigham’s tax returns (filed jointly with her
  husband) are relevant to the claims or defenses asserted in this lawsuit.

        Please    see    documents    produced            herewith      and     Bates     numbered
  BrighamR_PlaintiffRecords0646-0655.

  REQUEST FOR PRODUCTION NO. 18:

         Produce all documents, including, but not limited to, correspondence, memoranda, notes,

  video or audio recordings, transcriptions, written statements or other reductions to writing, of

  interviews or conversations with any individual, including any former agent or employee of

  Frontier, concerning your employment with Frontier or the subject matter of this litigation.

          RESPONSE: Please see previously produced documents Bates numbered
  BrighamR_PlaintiffRecords0190-0299 and 0633 (note: as previously discussed between counsel,
  the transcripts of recorded conversations were not professionally produced and contain some
  errors; however, the underlying recordings have been produced).

  REQUEST FOR PRODUCTION NO. 19:

         If your claim for compensatory damages includes any type of emotional damages or mental

  anguish, produce all documents relating to any emotional or mental injury or illness, which you

  contend resulted from your employment with Frontier, including, but not limited to, all medical

  records, reports, bills, diagnoses, prescriptions, or any communications with any physician,

  psychiatrist, nurse, counselor, therapist, or other practitioner of the healing arts regarding such

  injury or illness. Additionally, please execute a copy of the attached medical release in Exhibit
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  B for each provider so that Frontier may obtain your medical records. Please also execute a

  copy of the Authorization for Release of Psychotherapy Notes, attached as Exhibit C, for

  each identified mental health care provider so that Frontier may obtain your psychotherapy

  records from the mental health care provider(s).

          RESPONSE: OBJECTION: The release attached as Exhibit C is overly broad,
  impermissibly seeks to invade Ms. Brigham’s privacy, and seeks information not relevant to
  this lawsuit. The release seeks to provide Defendant access to “any and all notes recorded in
  any medium” from “any and all mental health providers . . . .” Plaintiff’s medical records
  are relevant to this lawsuit insofar as Defendant may seek to learn of the nature of Plaintiff’s
  medical damages caused by Defendant’s conduct at issue in this lawsuit. The release, as
  drafted, seeks information beyond this proper scope. As such, Plaintiff invites Defendant to
  draft its release such that it only seeks relevant information on Ms. Brigham’s treatment for
  alcoholism, anxiety, and depression, including bills for services rendered, incurred from
  2014 to present and rendered by Marla M. Madrid at Comanche Crossing Counseling, LLC
  and Drs. Keller and Thomas at The Discovery House. If Defendant agrees to do so, Plaintiff
  will execute a properly revised release. Exhibit B suffers from similar defects as described
  above in Plaintiff’s Response to Interrogatory No. 12.

         With regard to the remainder of this Request, Ms. Brigham is in the process of collecting
  any additional documents responsive to this Request and will supplement as soon as she is able.

  REQUEST FOR PRODUCTION NO. 20:

         Produce all documents, which relate or refer to any claim(s) you made for any type of

  government (federal, state, or local) benefits assistance during or subsequent to your employment

  with Frontier, including but not limited to claim(s) for unemployment insurance or disability

  benefits.

        RESPONSE: Please see documents produced herewith and Bates numbered
  BrighamR_PlaitniffRecords0651.

  REQUEST FOR PRODUCTION NO. 21:

         If your claim for compensatory damages in this lawsuit includes any type of emotional

  damages or mental anguish, provide a copy of all your social networking content since May 24,
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  2007 that relates to any of your emotions, feelings, or mental states, as well as your

  communications that reveal, refer, or relate to events that could reasonably be expected to produce

  a significant emotion, feeling, or mental state.

          RESPONSE: OBJECTION: This Request is overly broad and unduly burdensome.
  Plaintiff’s claims for relief do seek compensatory damages for “emotional damages or mental
  anguish;” however, this does not entitle Defendant to any social networking content or
  communications that “reveal, refer, or relate” to “emotions, feelings, or mental states” or
  “that could reasonably be expected to produce a significant emotion, feeling, or mental
  state.” This Request covers virtually any social media post or communication made by any
  individual at any time. Notwithstanding, Plaintiff invites conferral on this Request so that
  she may provide properly responsive information, if any exists.

  REQUEST FOR PRODUCTION NO. 22:

         Produce all documents, electronically stored information, and tangible things on which you

  base any computation of your damages in this action (including materials bearing on the nature

  and extent of injuries suffered), including, but not limited to, all raw data and computation sheets

  upon which the amount of each claim for damages is based, and medical bills, balance sheets,

  financial statements, pay stubs, and federal, state, and local tax returns.

        RESPONSE: Please see Plaintiff’s economic expert’s report Bates numbered
  BrighamR_PlaintiffRecords0708-0766, which contains detailed information responsive to this
  Request.

  REQUEST FOR PRODUCTION NO. 23:

          Produce all documents, electronically stored information, and tangible things that relate

  to, reflect, or show your medical condition(s), evaluation of any medical condition(s), and/or

  treatment for any medical condition(s) including, but not limited to, medical records, treatment

  plans, and correspondence with medical professionals, insurance carriers, Frontier, and/or any

  other individual or entity regarding such conditions from May 24, 2007 to the present.

         RESPONSE: OBJECTION: This Request is overly broad, unduly burdensome, seeks
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  to invade Ms. Brigham’s privacy, and seeks information that is not relevant to any claims or
  defenses asserted in this lawsuit. While Defendant is entitled to discovery on relevant medical
  conditions suffered by Plaintiff, Defendant is not entitled to discovery on any medical
  conditions suffered by Plaintiff from 2007 to present. Notwithstanding, Plaintiff invites
  conferral on this Request so that she may provide properly responsive information, if it
  exists.

                                         VERIFICATION

          I, Rebecca Brigham, hereby certify that I have read the foregoing responses to Defendant’s
  First Set of Written Discovery Requests, and the factual assertions contained herein are true and
  accurate to the best of my current knowledge. I will revise or supplement these responses, if
  needed, as additional facts become known.

                                        /s/ Rebecca Brigham
                                        Rebecca Brigham

         Respectfully served this 1st day of June, 2020.

                                                        THE LAW OFFICE OF JOHN R. CRONE,
                                                        LLC


                                                        /s/ John R. Crone
                                                        John R. Crone
                                                        CO Bar No. 48284
                                                        4550 E Cherry Creek Drive South, #1003
                                                        Glendale, Colorado 80246
                                                        Telephone: (303) 598-3526
                                                        Email: john@crone-law.com
                                                        Attorney for Plaintiff

                                    CERTIFICATE OF SERVICE
          I hereby certify that on June 1, 2020, a true and correct copy of the foregoing Plaintiff’s
  Responses to Defendant’s First Set of Written Discovery Requests Directed to Plaintiff including
  any exhibits or documents, was served upon Defendant via electronic mail through its attorneys of
  record.

                                                       By: /s/ John R. Crone
                                                           John R. Crone
